              Case 3:21-cr-01549-DB Document 42 Filed 08/09/22 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 UNITED STATES OF AMERICA,                        '
                                                  '
         Plaintiff,                               '
                                                  '
                                                  '
 v.                                               '   CRIMINAL NO. EP-21-CR-1549-DB
                                                  '
 RICARDO ROBLES                                   '
                                                  '
                                                  '
                  Defendant.                      '
                                                  '
                                                  '

                        UNITED STATES’ MOTION FOR HEARING

         The United States of America, by and through the United States Attorney for the Western

 District of Texas and the undersigned Assistant United States Attorney, hereby files its Motion

 For Hearing pursuant to the Supreme Court of the United States’ guidance in Missouri v. Frye,

 132 S. Ct. 1399 (2012) and Lafler v. Cooper, 132 S. Ct. 1376 (2012).

         I.       BACKGROUND

         On September 15, 2021, a Grand Jury sitting in the Western District of Texas handed

 down a twenty-two count Indictment charging Defendant, Ricardo Robles, with one count of

 Conspiracy to Commit Wire Fraud, in violation of 18 U.S.C. §§1343 & 1349, and twenty-one

 counts of Wire Fraud, in violation of 18 U.S.C. §1343. This case is set for jury selection and trial

 on December 6, 2022.

         On July 1, 2021, the United States offered Defendant a plea agreement in which

Defendant would plead guilty to Count One of the Indictment. The United States now seeks a

hearing to place the Government’s offer of said plea agreement on the record. See generally Frye,

132 S. Ct. at 1399; Lafler, 132 S. Ct. at 1376.
          Case 3:21-cr-01549-DB Document 42 Filed 08/09/22 Page 2 of 5




        II.     ARGUMENT

       The Supreme Court of the United States has indicated that a formal plea offer may be put

on the record before a trial to ensure that a defendant is advised of the plea offer and is aware of

the consequences of rejecting the offer. See Frye, 132 S. Ct. at 1399; Lafler, 132 S. Ct. at 1376.

Both Frye and Lafler deal with ineffective assistance of counsel claims predicated on failures of

counsel to communicate the existence or import of plea deals offered by the prosecution. Frye

confirmed that the Sixth Amendment right to the effective assistance of counsel applies to the

negotiations surrounding lapsed or rejected plea offers. Frye, 132 S. Ct. at 1407-1408. In Lafler,

decided the same day as Frye, the Supreme Court held that a defendant who turned down a

favorable plea offer because defendant received incorrect legal advice from his attorney may

maintain a claim for ineffective assistance of counsel. See Lafler, 132 S. Ct. at 1385.

       The United States now seeks to place on the record the fact of the United States’ plea offer

to guard against any potential future claim that the plea offer was not clearly communicated to

Defendant prior to trial. Such relief is consistent with the Supreme Court’s suggestion in Frye that

“formal [plea] offers can be made part of the record at any subsequent plea proceeding or before a

trial on the merits, all to ensure that a defendant has been fully advised before those proceedings

commence.” See Frye, 132 S. Ct. at 1408-1409.

        Through this request, the United States neither seeks to inquire, nor to have the Court

 inquire, into attorney-client communications between the Defendant and Defendant’s counsel.

 The United States, moreover, does not, by the filing of this Motion, suggest in any way that

 defense counsel Felix Valenzuela has acted outside the norms of Counsel’s professional

 responsibilities. Furthermore, the United States does not make this Motion to improperly involve
         Case 3:21-cr-01549-DB Document 42 Filed 08/09/22 Page 3 of 5




the Court in plea negotiations. Rather, making the United States’ plea offer and Defendant’s

rejection of said offer part of the record will ensure that Defendant has been fully advised of the

plea offer, has had an opportunity to discuss the offer with defense counsel, and understands the

consequences of rejecting the offer.

       III.    CONCLUSION

       WHEREFORE, premises considered, the United States requests that the instant Motion

be granted. The Government recognizes that scheduling is at the Court’s discretion, and therefore

request the Court set a Frye hearing at the Court’s earliest convenience.

                                             Respectfully submitted,

                                             ASHLEY C. HOFF
                                             UNITED STATES ATTORNEY

                                       By:   __________________________
                                             MICHAEL M. OSTERBERG
                                             Assistant U.S. Attorney
                                             Texas Bar #24108991
                                             700 E. San Antonio, Suite 200
                                             El Paso, Texas 79901
                                             (915) 534-6884
          Case 3:21-cr-01549-DB Document 42 Filed 08/09/22 Page 4 of 5




                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 9th day of August, 2022, a true and correct copy of the
foregoing instrument was electronically filed with the Clerk of the Court using the CM/ECF
System which will transmit notification of such filing to the following CM/ECF participants –

       Felix Valenzuela
       Counsel for Defendant
                                                   __________________________
                                                   MICHAEL M. OSTERBERG
                                                   Assistant United States Attorney
          Case 3:21-cr-01549-DB Document 42 Filed 08/09/22 Page 5 of 5




                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

 UNITED STATES OF AMERICA,                      '
                                                '
        Plaintiff,                              '
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 v.                                             '   CRIMINAL NO. EP-21-CR-1549-DB
                                                '
 RICARDO ROBLES                                 '
                                                '
                                                '
                Defendant.                      '
                                                '
                                                '

                                             ORDER

       On this day came to be considered the United States’ Motion for Hearing in the above-

entitled and numbered cause, and the Court having considered the same, is of the opinion that said

Motion should be GRANTED.

        IT IS THEREFORE ORDERED that a Hearing is set for defendant RICARDO

 ROBLES, for                 on     day of                   , 2022 .

        IT IS SO ORDERED.




                                             DAVID BRIONES
                                             UNITED STATES DISTRICT JUDGE
